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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 WINSTON WESLEY NOLES,                          §
                                                §
             PLAINTIFF,                         §
                                                §
                                                §
 V.                                             §     CIVIL CASE NO. 3:20-CV-3677-N-BK
                                                §
 NICK DIAL, POLICE OFFICER,                     §
 ROYSE CITY TX, IN HIS                          §
 INDIVIDUAL CAPACITY AND KEITH                  §
 SHORT, POLICE OFFICER, ROYSE                   §
 CITY TX, IN HIS INDIVIDUAL                     §
 CAPACITY,                                      §
                                                §
             DEFENDANTS.                        §

                   FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b) and Special Order 3, Defendants’ Renewed 12(b)(6)

Motion to Dismiss, Doc. 28, is before the Court for findings and a recommended disposition.

Upon consideration, the motion should be DENIED.

       By way of background, in December 2020, the then pro se Plaintiff filed this action

against the Defendant police officers in their individual capacities pursuant to 42 U.S.C. § 1983.

He alleged that one or both Defendants violated his First, Fourth, and Fourteenth Amendment

rights when they searched and seized his property without probable cause, violently arrested him,

and detained him for engaging in protected political speech, namely holding placards—some of

which contained profanity—by the side of a public highway. Doc. 3 at 3-12.
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        Defendants filed essentially identical motions to dismiss, which the undersigned

recommended be granted partly on (1) Plaintiff’s Fourth and Fourteenth Amendment claims; and

(2) his First Amendment claims with respect to his right to redress and to be free from a prior

restraint. Doc. 26 at 3, 13-15. The Court did not recommend the dismissal of Plaintiff’s First

Amendment rights to freedom of speech and public assembly as related to his displaying the signs

and recording the police during the events that led up to his arrest. See Doc. 26 at 7-10. The

Court also did not recommend the dismissal of Plaintiff’s First Amendment retaliation claims.

See Doc. 26 at 12-13. The district judge accepted the undersigned’s recommendation and

dismissed Plaintiff’s complaint, in part, without prejudice. Doc. 27. Additionally, the district

judge gave Plaintiff the opportunity to amend his complaint within 14 days. Doc. 27. When

Plaintiff did not do so, this motion followed.

        In it, Defendants assert that since Plaintiff did not amend his complaint, his remaining

First Amendment claims should be dismissed with prejudice. Doc. 28 at 2. Plaintiff correctly

argues, however, that he sufficiently pled some First Amendment claims, as noted above, and he

was not obligated to file an amended complaint to try to cure his other claims. Doc. 29. Plaintiff

concedes that his prior restraint and right of redress claims should be dismissed with prejudice at

this time because he has chosen to stand on the operative complaint.1 Doc. 29 at 2.

        For the foregoing reasons, Plaintiff’s Fourth and Fourteenth Amendment claims and his

First Amendment claims for right of redress and prior restraint should be DISMISSED WITH

PREJUDICE. Because Plaintiff’s complaint successfully states First Amendment claims based




1
 Plaintiff makes no mention of his Fourth and Fourteenth Amendment claims, which also were
previously dismissed without prejudice and should now be dismissed with prejudice.

                                                  2
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on his freedom of speech and the right to assemble, Defendants’ motion to dismiss those claims,

Doc. 28, should be DENIED.

       SO RECOMMENDED on April 27, 2022.




                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

A copy of this report and recommendation will be served on all parties in the manner provided by
law. Any party who objects to any part of this report and recommendation must file specific written
objections within 14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV.
P. 72(b). An objection must identify the finding or recommendation to which objection is made,
the basis for the objection, and the place in the magistrate judge’s report and recommendation the
disputed determination is found. An objection that merely incorporates by reference or refers to
the briefing before the magistrate judge is not specific. Failure to file specific written objections
will bar the aggrieved party from appealing the factual findings and legal conclusions of the
magistrate judge that are accepted or adopted by the district court, except upon grounds of plain
error. See Douglass v. United Services Automobile Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996),
modified by statute on other grounds, 28 U.S.C. § 636(b)(1) (extending the time to file objections
to 14 days).




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